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                         UNITED STATES DISTRICT COURT
                         NORTHERN DISTRICT OF ILLINOIS
                               EASTERN DIVISION


IN RE BROILER CHICKEN ANTITRUST
LITIGATION                                   No. 1:16-cv-08637

                                             Honorable Thomas M. Durkin
This Document Relates To:                    Magistrate Judge Jeffrey T. Gilbert

All End-User Consumer Plaintiff Actions



                END-USER CONSUMER PLAINTIFFS’ MOTION FOR
              APPROVAL OF PAYMENT OF ADMINISTRATIVE COSTS
                 AND EXTENSION OF CLAIMS FILING DEADLINE
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        End-User Consumer Plaintiffs (EUCPs) respectfully move this Court: (1) for approval

 to pay from the settlement funds the accrued and future costs of administering their

 settlements with the Tyson, Fieldale, Peco, George’s, Mar-Jac, and Pilgrim’s Defendants

 (“the Settlements”); and (2) for extension of the December 31, 2022 claims filing deadline for

 the Settlements.

       I.      PAYMENT OF ADMINISTRATIVE COSTS

       In its Order dated October 29, 2021 (ECF No. 5165), at ¶ 3, this Court stated:

              The Court has appointed A.B. Data as the settlement notice administrator
       and the administrator of the settlement funds and authorized A.B. Data to
       commence all aspects of the Class Notice . . . All reasonable costs of settlement
       administration shall be paid out of the settlement funds, subject to Court review
       and approval.

       The claims period for the Settlements was due to close on December 31, 2022.

Through January 31, 2022, A.B. Data incurred fees and expenses in the amount of

$888,657.60 in connection with notice and administration of the Settlements. See

Declaration of Eric Schachter in Support of End-User Consumer Plaintiffs’ Motion for

Approval of Payment of Administrative Costs and Extension of Claims Filing Deadline

(“Schachter Dec.”), attached as Exhibit A, at ¶ 12. These fees and expenses were incurred

in connection with executing the digital media components of the notice plan, sending

more than 30 million emails to potential class members, maintaining the case website and

toll-free phone number, taking in and processing more than 1.9 million claims, and

responding to inquiries from class members. Id. The Settlement Classes include tens of

millions of members and providing notice to and administering the claims submitted by so

many people is an enormous undertaking. See Schachter Dec. at ¶¶ 2-4, 6-12.

       A.B. Data has recently sent direct notice to 30 million potential class members to

notify them of the Court’s certification of the litigation class, pursuant with the Court’s
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January 4, 2023 Order approving the manner and form of class notice (ECF No. 6196).

Schachter Dec. at ¶¶ 2-3. 13. A.B. Data has incurred $370,099.57 in out-of-pocket

expenses related to executing the Court-approved notice.

       To date, A.B. Data has been paid a total of $23,074.82. As a result, more than

$1,235,682.35 of A.B. Data’s fees and expenses incurred thus far remain unpaid. Id. at ¶¶

12-13. Co-Lead Counsel for the EUCPs have received and reviewed periodic reports and

invoices from A.B. Data related to its work in administering the Settlements, id., and

believe the expenses incurred thus far are reasonable, inured to the benefit of class

members, and should be paid from the settlement funds.

       For the Settlements, A.B. Data estimates that it will incur an additional $550,000

to $750,000 to complete the intake of new claims that are submitted, review and auditing

of all the submitted claims, prepare claim calculations, and distribute the settlement fund

to eligible class members. Id. at ¶ 12. Co-Lead Counsel will continue to receive reports

and review invoices from A.B. Data to ensure that future expenses and fees incurred in

administering the Settlements are reasonable. Rather than burden the Court with multiple

motions for approval of payment of administrative costs, EUCPs respectfully request

permission to pay the future costs of administering the Settlements from the settlement

funds, provided Co-Lead Counsel’s review of future invoices and reports from A.B. Data

establishes those costs to be reasonable.

       II.     EXTENDING THE CLAIMS FILING DEADLINE

        To date, more than 2.2 million potential class members have submitted claims.

 Schachter Dec. at ¶ 7. Although the claims period was set to close on January 31, 2022, A.B.

 Data continues to receive claims from class members in response to the ongoing class

 certification notice. Id. at ¶ 4. Potential class members who receive notice of class


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certification should be able to participate in the settlements if they so choose.

       Treating these claims as timely would not unduly delay other class members’

recovery, nor would it affect the progress of other aspects of the case. Co-Lead Counsel

therefore believe that the December 31, 2022 claims deadline should be extended to allow the

filing of additional timely claims. The exclusion deadline for class certification is April 4,

2023 and EUCPs propose extending the claims filing deadline to the same date.

       WHEREFORE, EUCPs respectfully request that this Court enter an Order: (1)

approving payment from the settlement funds of A.B. Data’s past and future costs of

administering the Settlements; and (2) extending the claims filing deadline until April 4, 2023.

DATED: February 9, 2023                          HAGENS BERMAN SOBOL SHAPIRO LLP
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                                      Co-Lead Counsel for End-User Consumer
                                      Indirect Purchaser Plaintiffs Class




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                                 CERTIFICATE OF SERVICE

       The undersigned, an attorney, hereby certifies that on February 9, 2023 a true and

correct copy of the foregoing was electronically filed by CM/ECF, which caused notice to be

sent to all counsel of record.


                                                      s/ Shana E. Scarlett
                                                    SHANA E. SCARLETT




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